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 7                          UNITED STATES DISTRICT COURT

 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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     BRIAN DAWE; FLAT IRON
10   MOUNTAIN ASSOCIATES, LLC,
     formerly known as FLAT
11   IRON MOUNTAIN ASSOCIATES,
     a Partnership,
12
                                                 NO. CIV. S-07-1790 LKK/EFB
13                 Plaintiffs,

14           v.
                                                            O R D E R
15   CORRECTIONS USA, a California
     Corporation; CALIFORNIA
16   CORRECTIONAL PEACE OFFICERS'
     ASSOCIATION, a California
17   Corporation; JAMES BAIARDI,
     an individual; DONALD JOSEPH
18   BAUMANN, an individual,

19                 Defendants.
                                             /
20   AND CONSOLIDATED ACTIONS &
     RELATED COUNTERCLAIMS
21                                           /

22           Plaintiffs’ counsel informs the court that excerpts from video

23   recordings      of   depositions   in   this   case   have   been   posted   to

24   Youtube.com under the name CorrectionsUSA.             See Letter filed May

25   31, 2010 (Dkt. No. 328). Plaintiffs request that defendants remove

26   these videos, although plaintiffs do not argue that the videos

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 1   violate the protective order in this case or any other legal

 2   obligation or prohibition.     As such, it may be that the posting of

 3   these videos is protected by the First Amendment.           On the other

 4   hand, an order might be necessary to prevent adverse effect on jury

 5   selection.

 6        Defendants have not filed a response to plaintiff’s letter

 7   with the court.      It appears, however, that these videos have

 8   already been removed, mooting this dispute.1        Without determining

 9   the legal rights of either party at this stage, the court requests

10   as a courtesy that both sides take steps to ensure that neither

11   these nor similar videos are reposted or otherwise made public

12   pending trial.

13        IT IS SO ORDERED.

14        DATED:   June 10, 2010.

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            On June 9, 2010, the court attempted to visit the links
25   provided by plaintiffs, and received messages indicating that the
     videos had been removed by the poster or were otherwise
26   unavailable.

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